  17-00080-BPH Doc#: 4 Filed: 12/18/17 Entered: 12/18/17 14:23:30 Page 1 of 2



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Attorney No. 2641

                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MONTANA

   In Re:
   WAGNER, JASON                                  Case No. 17-60364-7 .

            Debtor(s)


   JOSEPH V. WOMACK, TRUSTEE

   Plaintiff
                                                  Adversary No. 17-00080
                   vs.

   ST. VINCENT HEALTHCARE

   Defendant



                                    NOTICE OF DISMISSAL


       COMES NOW, Joseph V. Womack, Trustee in the above-captioned Bankruptcy case, and

moves the Court for an Order in both the adversary action and the underlying bankruptcy dismissing

the above-referenced action. St. Vincent Healthcare paid the Estate the full amount owed of the

involuntary garnishment of Debtor’s wages.

       DATED this 18th day of December, 2017.

                                                            WALLER & WOMACK, P.C.

                                                            By: /s/ Joseph V. Womack
                                                                    Joseph V. Womack
                                                                    Attorney for Trustee
  17-00080-BPH Doc#: 4 Filed: 12/18/17 Entered: 12/18/17 14:23:30 Page 2 of 2



                             CERTIFICATE OF SERVICE

       I, the undersigned, certify under penalty of perjury that on December 18, 2017, a copy of
the foregoing was served via ECF, and by US Mail, postage prepaid, on the following
persons/entities:

St. Vincent Healthcare
1233 N. 30th Street
Billings, MT 59101

Craig D. Charlton
Scott Clement
Smith Law Firm, P.C.
26 West Sixth Avenue
Helena, MT 59624


                                                           By: /s/ Mikailla Widdicombe
                                                                   Mikailla Widdicombe
                                                                   Legal Asst. to Trustee
